         Case 1:16-cr-00267-LKG          Document 1541        Filed 08/05/20      Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
v.                                                  *          Crim. No. CCB-16-267
                                                    *
JAMAL SMITH                                         *
                                                    *
*    *   *   *   *   *   *   *   *   *   *    *   * * *   *   *   *   *   *   *   *   *   *   *   *   *

                                             MEMORANDUM

         Jamal Smith is a federal prisoner serving a 71-month sentence for drug trafficking

offenses. Now pending is Smith’s motion for sentence reduction pursuant to 18 U.S.C. §

3582(c)(1)(A) (the “compassionate release” statute), based on an underlying health condition that

increases his risk of serious illness related to COVID-19. (ECF 1516). The government opposes

the motion, (ECF 1524), and Smith has replied, (ECF 1527). For the reasons explained below,

the motion will be denied.

                                             BACKGROUND

         From 2011 to 2016, Smith was a member of a conspiracy to distribute heroin and cocaine

base in furtherance of gang activity. (ECF 350 at 1–2, 6 (Plea Agreement)). In March 2017,

Smith pled guilty to one count of racketeering conspiracy in violation of 18 U.S.C. §1962(d), and

one count of drug trafficking conspiracy in violation of 21 U.S.C. § 846. (Id. at 1–2). As part of

his plea, Smith admitted that between one and three kilograms of heroin and between 280 and

840 grams of cocaine base were reasonably foreseeable to him. (Id. at 6). On June 12, 2017,

Smith was sentenced to 71 months’ imprisonment as to Counts One and Two, to run concurrent,

followed by a five-year term of supervised release. (ECF 549 (Judgment)).

         In December 2018, Congress enacted the First Step Act. See Pub. L. No. 115-391, 132

Stat. 5194. As part of the Act, Congress amended 18 U.S.C. § 3582(c), which empowers courts



                                                    1
      Case 1:16-cr-00267-LKG           Document 1541         Filed 08/05/20      Page 2 of 5



to reduce a term of imprisonment if “extraordinary and compelling reasons warrant such a

reduction.” See 18 U.S.C. § 3582(c)(1)(A)(i); Pub. L. 115-391, Title VI, § 603(b), Dec. 21, 2018,

132 Stat. 5239. Before the First Step Act, a court could review a prisoner’s sentence pursuant to

§ 3582(c)(1)(A) only “upon motion of the Director of the Bureau of Prisons” (“BOP”). Id. But

under the amended statute, a court may conduct such a review also “upon motion of the

defendant,” if the defendant has exhausted all administrative remedies to appeal the BOP’s

failure to bring a motion, or if 30 days has lapsed “from the receipt of such a request by the

warden of the defendant’s facility,” whichever is earlier. Id. The court may authorize

compassionate release if, after considering the factors set forth in 18 U.S.C. § 3553(a), the court

finds that “extraordinary and compelling reasons” warrant it. See 18 U.S.C. § 3582(c)(1)(A)(i).

       The government does not contest that Bailey’s motion is properly before the court.

(Opp’n at 5–6, ECF 1524 (“Smith . . . meets the administrative remedies exhaustion

requirement.”)). The only issues are (1) whether “extraordinary and compelling reasons” warrant

reduction of Smith sentence and (2) if there is such a reason, whether the § 3553(a) factors weigh

in favor of a sentence reduction.

                                          DISCUSSION

       Under 28 U.S.C. § 994(t), the United States Sentencing Commission is responsible for

defining “what should be considered extraordinary and compelling reasons for sentence

reduction” under § 3582(c)(1)(A). According to the Commission’s Policy Statement,

“extraordinary and compelling reasons” exist where (A) the defendant is suffering from a

terminal or serious medical condition; (B) the defendant is over 65 years old, has failing health,

and has served at least ten years or 75 percent of his sentence, whichever is less; (C) the

caregiver of the defendant’s minor child dies or becomes incapacitated, or the defendant’s spouse




                                                 2
       Case 1:16-cr-00267-LKG                Document 1541            Filed 08/05/20          Page 3 of 5



or partner becomes incapacitated and the defendant is the only available caregiver; or (D) “other

reasons” as determined by the BOP. See U.S.S.G. §1B1.13 cmt. n.1(A)–(D). The BOP criteria

for “other reasons” justifying a sentence reduction are set forth in Program Statement 5050.50

(“Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C.

§§ 3582 and 4205(g)”). As this court and others have held, however, the court possesses

independent discretion—guided, but not bound by, Sentencing Commission and BOP criteria—

to determine whether there are “extraordinary and compelling reasons” to reduce a sentence. See

United States v. Decator, --- F. Supp. 3d ----, 2020 WL 1676219, at *3 (D. Md. Apr. 6, 2020)

(citing cases).1

         Smith argues that his risk of developing serious illness related to COVID-19 due to his

underlying medical condition (asthma) constitutes an “extraordinary and compelling” reason to

reduce his sentence. (Mot. at 5–6, ECF 1518). The Centers for Disease Control (“CDC”) has

issued guidance on underlying conditions that increase an individual’s risk of severe illness

related to COVID-19. See Coronavirus Disease 2019 (COVID-19): People with Certain Medical

Conditions, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-conditions.html (updated July 17, 2020). The CDC distinguishes between those

conditions where someone “[is] at increased risk” (e.g., obesity), and those where someone

“might be at an increased risk” (e.g., hypertension). Id. Asthma is in the latter group. Id.

         The court is not persuaded that Smith’s underlying medical condition rises to the level of

an “extraordinary and compelling reason” warranting a sentence reduction. Smith is relatively

young (28 years old), and while the court does not doubt that Smith’s asthma impacts his life, the


1
 The court’s independent discretion stems from the First Step Act of 2018, which, inter alia, amended 18 U.S.C. §
3582(c) with the stated goal of “increasing the use and transparency of compassionate release.” See First Step Act §
603(b), Pub. L. No. 115-391, 132 Stat. 5194; see also Decator, 2020 WL 1676219, at *1–3 (explaining Policy
Statement § 1B1.13’s partial inconsistency with the First Step Act amendments to § 3582(c)).


                                                         3
       Case 1:16-cr-00267-LKG                Document 1541            Filed 08/05/20         Page 4 of 5



CDC now classifies asthma as a lesser risk factor for severe illness related to COVID-19. Absent

evidence of other underlying conditions that make Smith particularly vulnerable to COVID-19,

the court does not believe Smith’s asthma is grounds for compassionate release. See, e.g., United

States v. Brown, No. CR SAG-10-0344, 2020 WL 3833284, at *4 (D. Md. July 8, 2020) (“Just

because Brown might have one underlying condition that elevates his risk for severe illness from

COVID-19 does not mean that he is entitled to compassionate release. Instead, his underlying

medical conditions must compellingly increase his risk for severe illness, or death, if he were to

contract COVID-19.”).2

        The court acknowledges Smith’s concerns about the spread of COVID-19 at FCI

Danbury, where he is currently incarcerated. But in light of the court’s conclusion that Smith’s

underlying condition does not rise to the level of an “extraordinary and compelling reason”

warranting a sentence reduction, the court also finds that the risk of spread at FCI Danbury does

not provide grounds for Smith’s sentence to be reduced.3

                                               CONCLUSION

        For the foregoing reasons, Smith’s motion for compassionate release (ECF 1516) will be

denied. The associated motions to seal (ECF 1517, 1523, 1526) will be granted to protect the

confidentiality of personal medical information. A separate order follows.




     8/5/20
_________________                                                                        /S/
                                                                                ______________________
Date                                                                            Catherine C. Blake
                                                                                United States District Judge




2
 Unpublished opinions are cited for the persuasiveness of their reasoning rather than any precedential value.
3
 As no extraordinary and compelling reasons exist for a sentence reduction, the court need not address the 18
U.S.C. § 3553(a) factors.


                                                         4
Case 1:16-cr-00267-LKG   Document 1541   Filed 08/05/20   Page 5 of 5




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